                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 1 of 10


                            1   [Counsel identified on signature pages]

                            2

                            3

                            4

                            5

                            6

                            7

                            8
                            9

                       10
                                                          UNITED STATES DISTRICT COURT
                       11
                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                       12

                       13                                           SAN JOSE DIVISION

                       14
                                NATIONAL URBAN LEAGUE, et al.,                CASE NO. 5:20-cv-05799-LHK
                       15
                                                               Plaintiffs,    STIPULATION AND [PROPOSED]
                       16                     v.                              ORDER REGARDING CENSUS AND
                       17                                                     POPULATION COUNTS AND 21-DAY
                                WILBUR L. ROSS, JR., et al.,                  STAY OF PROCEEDINGS
                       18
                                                               Defendants.
                       19

                       20
                       21

                       22

                       23

                       24

                       25

                       26

                       27

                       28

                                                                                                CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O
                                                                               STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                     POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 2 of 10


                            1
                                        Pursuant to Civil Local Rules 6-2 and 7-12, the parties to this action, by their respective
                            2
                                counsel, respectfully submit the following Joint Stipulation:
                            3
                                        WHEREAS, for the reasons set forth below, in light of the current depositions, motions
                            4
                                and discovery deadlines on calendar and the pending transition to a new Administration,
                            5
                                Defendants have requested a 21-day stay of the case in order to provide for an orderly transition
                            6
                                and to let the new Administration assess this case;
                            7
                                        WHEREAS, Defendants state that the Census Bureau will not be in position to finalize or
                            8
                                provide apportionment data until many weeks after January 20, 2021, the date on which the
                            9
                                incoming Administration will take responsibility for supervision of the Census Bureau;
                       10
                                        WHEREAS, Defendants state that the Census Bureau will not be in position to finalize or
                       11
                                provide reports, estimates, or data relating to (i) the July 21, 2020 Presidential Memorandum on
                       12
                                Excluding Illegal Aliens from the Apportionment Base Following the 2020 Census or (ii)
                       13
                                Executive Order 13880, entitled Collecting Information About Citizenship Status in Connection
                       14
                                with the Decennial Census (July 11, 2019), until many weeks after January 20, 2021;
                       15
                                        WHEREAS, this ongoing litigation has required Defendants to expend substantial
                       16
                                resources, including for preparation of many depositions scheduled for next week and the
                       17
                                production of numerous documents and materials;
                       18
                                        WHEREAS, Defendants believe that the public interest would be served by staying all
                       19
                                proceedings in this litigation for 21 days, in that such a stay would permit the incoming
                       20
                                Administration to evaluate the Census Bureau’s and the Department of Commerce’s operations
                       21
                                and assess, among other things, the interests of the United States and its litigating positions in
                       22
                                light of Plaintiffs’ claims in this case;
                       23
                                        WHEREAS, Plaintiffs are amenable to a 21-day stay, based on Defendants’ express
                       24
                                acknowledgments and representations below, provided to ensure that Plaintiffs are not prejudiced
                       25
                                in any way by a stay.
                       26

                       27

                       28

                                                                                                        CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                                         2      STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                             POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 3 of 10


                            1
                                     NOW, THEREFORE, DEFENDANTS HEREBY STIPULATE AS FOLLOWS:
                            2
                                     1) Reports, estimates, or data relating to the July 21, 2020 Presidential Memorandum on
                            3
                                        Excluding Illegal Aliens from the Apportionment Base Following the 2020 Census
                            4
                                        will not be finalized, reported or publicly disclosed prior to the change of
                            5
                                        Administration on January 20, 2021. Should such information be finalized after the
                            6
                                        change of Administration but prior to the end of the proposed stay, Defendants would
                            7
                                        provide Plaintiffs with 7 days’ detailed notice prior to reporting or publicly disclosing
                            8
                                        it.
                            9
                                     2) Reports, estimates, or data relating to Executive Order 13880, entitled Collecting
                       10
                                        Information About Citizenship Status in Connection with the Decennial Census (July
                       11
                                        11, 2019), will not be finalized, reported or publicly disclosed prior to the change of
                       12
                                        Administration on January 20, 2021. Should such information be finalized after the
                       13
                                        change of Administration but prior to the end of the stay, Defendants would provide
                       14
                                        Plaintiffs with 7 days’ detailed notice prior to reporting or publicly disclosing it.
                       15
                                     3) Neither the Census Bureau nor the Department of Commerce will report or publicly
                       16
                                        disclose any population counts or estimates relating to the population as of April 1,
                       17
                                        2020, including counts or estimates of the illegal alien/undocumented immigrant
                       18
                                        population, prior to the change of Administration on January 20, 2021. To the extent
                       19
                                        such population counts or estimates are developed after the change of Administration
                       20
                                        but prior to the end of the stay, Defendants would provide Plaintiffs with 7 days’
                       21
                                        detailed notice prior to reporting or publicly disclosing them.
                       22
                                     4) That the restrictions contained in (1) – (3) above shall not apply to Defendants’
                       23
                                        obligations to respond to information requests from Congress or the Office of the
                       24
                                        Inspector General.
                       25

                       26

                       27

                       28

                                                                                                     CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                                     3       STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                          POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 4 of 10


                            1
                                       FURTHER, THE PARTIES JOINTLY STIPULATE AS FOLLOWS:
                            2
                                       a) That the Court enter a 21-day stay of this case, effective beginning on January 15,
                            3
                                2021 and lifting on February 5, 2021, with any deadlines currently due January 15, 2021
                            4
                                becoming due on February 5, 2021, and all other deadlines commensurately shifted;
                            5
                                       b) That the Court resolve Plaintiffs’ Renewed Motion to Compel and for Sanctions, ECF
                            6
                                No. 433, except that Plaintiffs ask the Court to hold their request for sanctions contained therein
                            7
                                in abeyance and not resolve it at this time, subject to Plaintiffs renewing such request in the
                            8
                                future if warranted given the parties’ ongoing discussions on these matters. If the Magistrate
                            9
                                Judge Panel issues a decision on Plaintiffs’ Motion to Compel, the parties reserve their right to
                       10
                                appeal that decision to the District Court and the appellate courts, and to seek a stay pending any
                       11
                                appeal of any adverse decision;
                       12
                                       c) That the parties file a Joint Case Management Statement on February 3, 2021, for a
                       13
                                Further Case Management Conference on February 5, 2021 at 10:00 a.m. PT;
                       14
                                       d) That, should the parties not reach earlier resolution, the case shall restart on February
                       15
                                5, 2021 under the exact same schedule currently in place, and Defendants will not resist or
                       16
                                challenge Plaintiffs taking any of the depositions currently noticed or producing any of the
                       17
                                documents and materials Defendants currently are obligated to produce, but Defendants may
                       18
                                assert the objections that they would have had in the normal course.
                       19

                       20
                       21
                                Dated: January 16, 2021                            LATHAM & WATKINS LLP
                       22
                                                                                   By: /s/ Sadik Huseny
                       23                                                             Sadik Huseny
                       24                                                          Sadik Huseny (Bar No. 224659)
                                                                                   sadik.huseny@lw.com
                       25                                                          Steven M. Bauer (Bar No. 135067)
                                                                                   steven.bauer@lw.com
                       26                                                          Amit Makker (Bar No. 280747)
                                                                                   amit.makker@lw.com
                       27                                                          Shannon D. Lankenau (Bar. No. 294263)
                                                                                   shannon.lankenau@lw.com
                       28                                                          LATHAM & WATKINS LLP

                                                                                                        CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                                        4       STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                             POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 5 of 10


                            1                                          505 Montgomery Street, Suite 2000
                                                                       San Francisco, CA 94111
                            2                                          Telephone: 415.391.0600
                                                                       Facsimile: 415.395.8095
                            3
                                                                       Melissa Arbus Sherry (pro hac vice)
                            4                                          melissa.sherry@lw.com
                                                                       Richard P. Bress (pro hac vice)
                            5                                          rick.bress@lw.com
                                                                       Anne W. Robinson (pro hac vice)
                            6                                          anne.robinson@lw.com
                                                                       Tyce R. Walters (pro hac vice)
                            7                                          tyce.walters@lw.com
                                                                       Gemma Donofrio (pro hac vice)
                            8                                          gemma.donofrio@lw.com
                                                                       Christine C. Smith (pro hac vice)
                            9                                          christine.smith@lw.com
                                                                       LATHAM & WATKINS LLP
                       10                                              555 Eleventh Street NW, Suite 1000
                                                                       Washington, D.C. 20004
                       11                                              Telephone: 202.637.2200
                                                                       Facsimile: 202.637.2201
                       12
                                                                       Attorneys for Plaintiffs National Urban League;
                       13                                              League of Women Voters; Black Alliance for
                                                                       Just Immigration; Harris County, Texas; King
                       14                                              County, Washington; City of San Jose,
                                                                       California; Rodney Ellis; Adrian Garcia; and
                       15                                              the NAACP

                       16       Dated: January 16, 2021                By: /s/ Jon M. Greenbaum
                                                                       Kristen Clarke (pro hac vice)
                       17                                              kclarke@lawyerscommittee.org
                                                                       Jon M. Greenbaum (Bar No. 166733)
                       18                                              jgreenbaum@lawyerscommittee.org
                                                                       Ezra D. Rosenberg (pro hac vice)
                       19
                                                                       erosenberg@lawyerscommittee.org
                       20                                              Ajay Saini (pro hac vice)
                                                                       asaini@lawyerscommitee.org
                       21                                              Maryum Jordan (Bar No. 325447)
                                                                       mjordan@lawyerscommittee.org
                       22                                              Pooja Chaudhuri (Bar No. 314847)
                                                                       pchaudhuri@lawyerscommittee.org
                       23                                              LAWYERS’ COMMITTEE FOR CIVIL
                                                                       RIGHTS UNDER LAW
                       24                                              1500 K Street NW, Suite 900
                                                                       Washington, DC 20005
                       25                                              Telephone: 202.662.8600
                       26                                              Facsimile: 202.783.0857

                       27                                              Attorneys for Plaintiffs National Urban League;
                                                                       City of San Jose, California; Harris County,
                       28                                              Texas; League of Women Voters; King County,

                                                                                            CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                            5       STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                 POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 6 of 10


                            1                                          Washington; Black Alliance for Just
                                                                       Immigration; Rodney Ellis; Adrian Garcia; the
                            2                                          NAACP; and Navajo Nation
                            3                                          Wendy R. Weiser (pro hac vice)
                                                                       weiserw@brennan.law.nyu.edu
                            4
                                                                       Thomas P. Wolf (pro hac vice)
                            5                                          wolft@brennan.law.nyu.edu
                                                                       Kelly M. Percival (pro hac vice)
                            6                                          percivalk@brennan.law.nyu.edu
                                                                       BRENNAN CENTER FOR JUSTICE
                            7                                          120 Broadway, Suite 1750
                                                                       New York, NY 10271
                            8                                          Telephone: 646.292.8310
                                                                       Facsimile: 212.463.7308
                            9
                                                                       Attorneys for Plaintiffs National Urban League;
                       10                                              City of San Jose, California; Harris County,
                       11                                              Texas; League of Women Voters; King County,
                                                                       Washington; Black Alliance for Just
                       12                                              Immigration; Rodney Ellis; Adrian Garcia; the
                                                                       NAACP; and Navajo Nation
                       13
                                                                       Mark Rosenbaum (Bar No. 59940)
                       14                                              mrosenbaum@publiccounsel.org
                                                                       PUBLIC COUNSEL
                       15                                              610 South Ardmore Avenue
                                                                       Los Angeles, California 90005
                       16                                              Telephone: 213.385.2977
                                                                       Facsimile: 213.385.9089
                       17

                       18                                              Attorneys for Plaintiff City of San Jose

                       19                                              Doreen McPaul, Attorney General
                                                                       dmcpaul@nndoj.org
                       20                                              Jason Searle (pro hac vice)
                                                                       jasearle@nndoj.org
                       21                                              NAVAJO NATION DEPARTMENT OF
                                                                       JUSTICE
                       22                                              P.O. Box 2010
                                                                       Window Rock, AZ 86515
                       23                                              Telephone: (928) 871-6345
                       24
                                                                       Attorneys for Navajo Nation
                       25
                                Dated: January 16, 2021                By: /s/ Danielle Goldstein
                       26                                              Michael N. Feuer (Bar No. 111529)
                                                                       mike.feuer@lacity.org
                       27                                              Kathleen Kenealy (Bar No. 212289)
                                                                       kathleen.kenealy@lacity.org
                       28                                              Danielle Goldstein (Bar No. 257486)

                                                                                            CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                            6       STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                 POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 7 of 10


                            1                                          danielle.goldstein@lacity.org
                                                                       Michael Dundas (Bar No. 226930)
                            2                                          mike.dundas@lacity.org
                                                                       CITY ATTORNEY FOR THE CITY OF
                            3                                          LOS ANGELES
                                                                       200 N. Main Street, 8th Floor
                            4
                                                                       Los Angeles, CA 90012
                            5                                          Telephone: 213.473.3231
                                                                       Facsimile: 213.978.8312
                            6
                                                                       Attorneys for Plaintiff City of Los Angeles
                            7
                                Dated: January 16, 2021                By: /s/ Michael Mutalipassi
                            8                                          Christopher A. Callihan (Bar No. 203010)
                                                                       legalwebmail@ci.salinas.ca.us
                            9                                          Michael Mutalipassi (Bar No. 274858)
                                                                       michaelmu@ci.salinas.ca.us
                       10                                              CITY OF SALINAS
                       11                                              200 Lincoln Avenue
                                                                       Salinas, CA 93901
                       12                                              Telephone: 831.758.7256
                                                                       Facsimile: 831.758.7257
                       13
                                                                       Attorneys for Plaintiff City of Salinas
                       14
                                Dated: January 16, 2021                By: /s/ Rafey S. Balabanian
                       15                                              Rafey S. Balabanian (Bar No. 315962)
                                                                       rbalabanian@edelson.com
                       16                                              Lily E. Hough (Bar No. 315277)
                                                                       lhough@edelson.com
                       17
                                                                       EDELSON P.C.
                       18                                              123 Townsend Street, Suite 100
                                                                       San Francisco, CA 94107
                       19                                              Telephone: 415.212.9300
                                                                       Facsimile: 415.373.9435
                       20
                                                                       Rebecca Hirsch (pro hac vice)
                       21                                              rebecca.hirsch2@cityofchicago.org
                                                                       CORPORATION COUNSEL FOR THE
                       22                                              CITY OF CHICAGO
                                                                       Celia Mexa
                       23                                              Stephen J. Kane
                       24                                              121 N. LaSalle Street, Room 600
                                                                       Chicago, IL 60602
                       25                                              Telephone: (312) 744-8143
                                                                       Facsimile: (312) 744-5185
                       26
                                                                       Attorneys for Plaintiff City of Chicago
                       27

                       28

                                                                                            CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                            7       STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                 POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 8 of 10


                            1
                                Dated: January 16, 2021                By: /s/ Donald R. Pongrace
                            2                                          Donald R. Pongrace (pro hac vice)
                                                                       dpongrace@akingump.com
                            3                                          Merrill C. Godfrey (Bar No. 200437)
                                                                       mgodfrey@akingump.com
                            4
                                                                       AKIN GUMP STRAUSS HAUER & FELD
                            5                                          LLP
                                                                       2001 K St., N.W.
                            6                                          Washington, D.C. 20006
                                                                       Telephone: (202) 887-4000
                            7                                          Facsimile: 202-887-4288

                            8                                          Attorneys for Plaintiff Gila River Indian
                                                                       Community
                            9
                                Dated: January 16, 2021                By: /s/ David I. Holtzman
                       10                                              David I. Holtzman (Bar No. 299287)
                                                                       David.Holtzman@hklaw.com
                       11
                                                                       HOLLAND & KNIGHT LLP
                       12                                              Daniel P. Kappes
                                                                       Jacqueline N. Harvey
                       13                                              50 California Street, 28th Floor
                                                                       San Francisco, CA 94111
                       14                                              Telephone: (415) 743-6970
                                                                       Fax: (415) 743-6910
                       15
                                                                       Attorneys for Plaintiff County of Los Angeles
                       16

                       17

                       18       DATED: January 16, 2021                   JENNIFER B. DICKEY
                                                                          Acting Assistant Attorney General
                       19

                       20                                                 JOHN V. COGHLAN
                                                                          Deputy Assistant Attorney General
                       21
                                                                          AUGUST E. FLENTJE
                       22                                                 Special Counsel to the Assistant
                                                                           Attorney General
                       23

                       24                                                 ALEXANDER K. HAAS
                                                                          Branch Director
                       25
                                                                          DIANE KELLEHER
                       26                                                 Assistant Branch Director
                       27                                                 /s/ Brad P. Rosenberg
                       28                                                 BRAD P. ROSENBERG (DC Bar # 467513)
                                                                          Assistant Branch Director
                                                                                            CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                            8       STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                 POPULATION COUNTS AND 21-DAY STAY
                                 Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 9 of 10


                            1                                                        ALEXANDER V. SVERDLOV
                                                                                     STEPHEN EHRLICH
                            2                                                        M. ANDREW ZEE
                            3                                                        Trial Attorneys
                                                                                     U.S. Department of Justice
                            4                                                        Civil Division - Federal Programs Branch
                                                                                     1100 L Street, NW
                            5                                                        Washington, D.C. 20005
                                                                                     Telephone: (202) 305-0550
                            6

                            7                                                        Attorneys for Defendants

                            8
                            9

                       10                                               ATTESTATION

                       11               I, Sadik Huseny, am the ECF user whose user ID and password authorized the filing of this

                       12       document. Under Civil L.R. 5-1(i)(3), I attest that all signatories to this document have concurred

                       13       in this filing.

                       14       Dated: January 16, 2021                           LATHAM & WATKINS LLP

                       15                                                         By: /s/ Sadik Huseny
                                                                                      Sadik Huseny
                       16

                       17

                       18

                       19

                       20
                       21

                       22

                       23

                       24

                       25

                       26

                       27

                       28

                                                                                                      CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                                       9      STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                           POPULATION COUNTS AND 21-DAY STAY
                                Case 5:20-cv-05799-LHK Document 456 Filed 01/15/21 Page 10 of 10


                            1
                                                              [PROPOSED] ORDER
                            2
                                     The stipulation is GRANTED.
                            3
                                     PURSUANT TO THE PARTIES’ STIPULATION, IT IS SO ORDERED.
                            4

                            5
                                DATED: January 15, 2021                 ____________________________
                            6                                           Honorable Lucy H. Koh
                                                                        United States District Judge
                            7

                            8
                            9

                       10

                       11

                       12

                       13

                       14

                       15

                       16

                       17

                       18

                       19

                       20
                       21

                       22

                       23

                       24

                       25

                       26

                       27

                       28

                                                                                            CASE NO. 5:20-CV-05799-LHK
A T TOR N E Y S A T L A W
  S A N F R A N C ISC O                                            10      STIP. AND [PROPOSED] ORDER RE CENSUS AND
                                                                                 POPULATION COUNTS AND 21-DAY STAY
